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                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                            www.flsb.uscourts.go_v
                                                       CHAPTER 13 PLAN (Individual Adjustment of Debts)

                               □                                            Original Plan

                               @ Second                                     Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                               □                                            Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Daylee Garcia                                      JOINT DEBTOR:                                         CASE NO.: 23-16998-LMI

     SS#: xxx-xx- 6997                                             SS#: xxx-xx-

     I.           NOTICES

                  To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                      modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                      the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                  To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                         be reduced, modified or eliminated.
                  To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                       on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                      [■] Included            □ Not included
          partial payment or no payment at all to tlie secured creditor
          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                     r~l   Included          \m\ Not included
          out in Section III
          Nonstandard provisions, set out in Section IX                                                               \m\   Included          n   Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEYiSJEEE

                 A.     MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filin^conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.     $658.85               for montlis   1    to 60     ;

                 B.     DEBTORfSV ATTORNEY'S FEE:                                            □ NONE     □ PRO BONO
              Total Fees:                $4,650.00           Total Paid:              $2,000.00          Balance Due:           $2,650.00

              Payable _            $265.00           /month (Months     1    to 10 )
              Allowed fees under LR 2016-I(B)(2) are itemized below:
              Safe Harbor: $4,500.00 Attorney's Fees + $150.00 Costs = $4,650.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                           □ NONE
                 A. SECURED CLAIMS: □ NONE
                 [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Li en on Real or Personal Property:
               1. Creditor: Carmel at the California Club Condominium "25" ASS
                   Address: c/o BLG Association,                   Arrearage/ Payoff on Petition Date   2,678.58 + 525 = $3,203.58
                            Law, PLLC                                                                             $73.00       /month (Months     1    to 60 )
                                                                   Regular Payment (Maintain)
                               301 West Platt Street//375
                               Tampa, FL 33606                     Arrears Payment (Cure)                         $64.07       /month (Months     11   to 60 )

               Last 4 Digits of
               Account No.:

              Other:




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                                                                          Debtor(s): Daylce Garcia                               Case number: 23-16998-LMI



        @ Real Property                                                             Check one below for Real Property:
             [principal Residence                                                   □Escrow is included in the regular payments
                □other Real Property                                                □The debtor(s) will pay        □taxes      □insurance directly
        Address of Collateral:
         921 NE 199 Street #7, Miami, FL 33179


        □ Personal PropertyA^ehicle
        Description of Collateral:

         2. Creditor: Carmel at the California Club ProperQ^ Owners Assoc
              Address: c/o BLG Association                   Arrearage/ Payoff on Petition Date      $9,718.41 + $525 = $ 10.243.41
                             Law, PLLC                                                                         $235.00       /month (Months   1   to 60   )
                                                             Regular Payment (Maintain)
                             301 West Platt Street #375
                             Tampa, FL 33606                 Arrears Payment (Cure)                            $204.86       /month (Months       to



        Last 4 Digits of
         Account No.:

        Other:


        [■I Real Property                                                           Check one below for Real Property:
                [■TPrincipal Residence                                              □Escrow is included in the regular payments
                □other Real Property                                                □The debtor(s) will pay        □taxes      □insurance directly
         Address of Collateral:
         921 NE 199 Street #107, Miami, FL 33179


        □ Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL;                      g) NONE
            C. LIEN AVOIDANCE g] NONE
            D. SURRENDER OF COLLATERAL;                          g] NONE
            E. DIRECT PAYMENTS                     □ NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                   confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                   codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                        Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                             Carmax Auto Finance          2686                             2017 Cadillac ATS
                        1.

                                                                                           2020 Hyundai Elantra
                        ^ Capital One Auto Finance
                                                          1001


rv.         TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                   g] NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                          □ NONE
               A. Pay              $19.96       /month (Months     1     to 10 )

                    Pay            $16.03       /month (Months     11    to 60 )
                    Pro rata dividendwill be calculatedby the Trusteeupon review of filed claims after bar date.
               B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFJED:                   g] NONE

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VI.         STUDENT LOAN PROGUAM                   g NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                 g NONE
VIII.       INCOME TAX RETURNS AND REKUNDS:

                   g Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.        NON-STANDARD PLAN PROVISIONS □ NONE
           g Nonstanckird provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or (leviatinn from it. Nonstandard provisions set out elsewhere in this plan are void.
                Conllrmationof ilic plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                before conUrmaiiun,
           []]] Mortgage Modification Mediation


                        PROIM'.RT^ OF Til f ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                              Debtor                                                          Joint Debtor
                                                            Date                                                                    Date
 Daylee Garcia



 /s/Jose A. Blanco. Esq.
                                                           Date
      Attorney with permission to sign on
       Debtor(s)' behalf who certifes that
       the contents of the plan lun e been
         reviewed and approved by the
                                    1
                       Debtor(s).


   By filing this document, the Attorney for l)ebtor(s) or Dcbtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Cha|)ter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nnn.stamlard pio\ i.sinns other than those set out in paragraph IX.




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the DehioifsV behalf




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